Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 1 of 14




                            UNITED STATES DISTRICT COURT FOR THE
                                SOUTHERN DISTRICT OF FLORIDA
  ––––––––––––––––––––––––––– –––

  YAMEL GONZALEZ, individually and on                                  0:21 Civ. 60278 (xx)
  behalf of all others similarly situated,
                                       Plaintiff,
                           against
  CHRISTAL TRANSPORT, LLC and
  ORALDO SOSA
                                       Defendants.
  – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –/
            CORRECTED1 MOTION FOR CONDITIONAL CERTIFICATION FOR
           DISCLOSURE OF CONTACT INFORMATION AND TO SEND NOTICES
                   AND INCORPORATED MEMORANDUM OF LAW

          YAMEL GONZALEZ, individually and on behalf of all others similarly situated, by

  his attorneys at Black Law P.A., hereby respectfully moves this Honorable Court to:

          1) To conditionally certify the above-action as a collective action under the Fair

               Labor Standards Act with the proposed collective described as:

                   All truck drivers who worked for Christal Transport, LLC at any time
                   after February 2, 2018.

          2) To compel production by Defendants, within 15 days of the Court order

               granting conditional certification, of a complete list of each and every person –

               and their last known mailing address, email address, and telephone number

               – who was employed, by Defendant as a truck driver as described above.

          3) To authorize Plaintiff’s counsel mailing of a Court-approved Notice to all such

               persons of their right to opt into this collective action by filing a Consent to



  1
    This motion has been corrected to include the Local Rule 7.1(a)(3) conferral requirement, which was
  inadvertently excluded from the original filing.
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 2 of 14




            Join Lawsuit in the proposed forms attached hereto and incorporated herein

            by references in Section III(B) infra; and

         4) To grant any such other relief the Court deems just and proper.

         This Honorable Court should grant this motion for the reasons set forth below:

                             I. INTRODUCTION AND CORE LAW

         Plaintiff’s claim is for unpaid overtime under the Fair Labor Standards Act

  (“FLSA”). Plaintiff was an intrastate truck driver for the Defendants, and was never paid

  overtime because he was misclassified an independent contractor.            The Court has

  already set a trial date and pretrial deadlines. [ECF No. 17]. Defendants were engaged

  in interstate commerce for the purposes of the FLSA in that Plaintiff handled and

  delivered materials that traveled in interstate commerce, and Defendants’ business

  regularly processed credit and banking transactions involving out of state and foreign

  financial institutions. Further, Defendants’ gross sales were not less than $500,000.00.

     The FLSA was enacted to ensure that every employee receives a “fair day’s pay for

  a fair day’s work.”   A.H. Phillips v. Walling, 324 U.S 490, 493 (quoting address to

  Congress by Franklin E. Roosevelt in 1937). In light of the FLSA’s broad remedial

  purposes, the FLSA is to be liberally construed to apply the furthest reaches of

  Congress’s intention. Biggs v. Wilson, 1 F.3d 1537 (9th Cir. 1993). The FLSA requires

  that employees are paid a minimum wage for work, and that employees working more

  than forty hours a week receive overtime compensation, specifically time and a half for

  all hours over forty, i.e. 1.5 times their regular rate of pay.” 29 U.S.C. § 207(a)(1)(e); 29

  C.F.R. § 778.108.      This law also applies to workers who were misclassified as

  independent contractors by an employer.




                                               2
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 3 of 14




           29 U.S.C. § 216(b) provides an “opt-in” collective actions for similarly situated

  employees. See Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233, 1258 (11th Cir.

  2008).     The lawsuit does not become a collective action unless other plaintiffs

  affirmatively opt into the class by giving written notice of a filed consent. See Cameron-

  Grant v. Maxim Healthcare Services, Inc., 347 F.3d 1240, 1249 (11th Cir. 2003).

           The Eleventh Circuit undergoes a two-stage approach for certifying FLSA

  collective actions. Hipp v. Liberty Nat. Life Ins., 252 F.3d at 1217 (11th Cir. 2001). In

  the first stage, the district court should evaluate the case under a lenient standard.

  Morgan, 551 F.3d at 1260.          In the second stage, the Court would re-evaluate the

  similarly situated question after discovery produces more information regarding the

  claims made by the Plaintiff.       Id.   During both stages, the Court analyzes whether

  similarly situated employees exist, who could opt-in. Id.

           In the first stage, the Court reviews the pleadings and affidavits to determine

  whether notice of the action should be given to other potential class members – this is

  known as “conditional certification.” Hipp, 252 F.3d at 1217. Conditional certification

  can be rebutted and re-examined by the Court after discovery. Id. During the first

  stage, the Court analyzes conditional certification liberally, although the Plaintiff must

  show a “reasonable basis” for his claim that there are similarly situated employees.

  Morgan, 551 F.3d at 1260.

           The Eleventh Circuit has not set a bright line test in defining similarly situated, but

  has held that as more “legally significant differences appear among opt-ins, the less

  likely it is that the group of employees is similarly situated.” Morgan, 551 F.3d at 1261.

  Courts in the Southern District of Florida regularly consider five factors in determining




                                                  3
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 4 of 14




  whether plaintiffs are similarly situated1) plaintiffs have the same job title, 2) whether

  they worked in the same geographic location; 3) when and how the FLSA violations

  occur, and 4) whether the plaintiffs were subject to the same rules and policies for their

  employer; and 5) whether the actions that constitute the violations claimed by Plaintiffs

  are similar. Lara v. G&E Fla. Contr., LLC, 2015 WL 4760678 at *4 (S.D. Fla. July 21,

  2015), citing Smith v. Tradesmen, Int.’l, 289 F.Supp 1369, 1372 (S.D. Fla 2003).

         At the notice stage, the court is not tasked with making legal findings on factual

  issues or focus on whether an actual violation of the law occurred. See Dozier v. DBI

  Serv., LLC, 2020 WL 881698 at *2 (M.D. Fla. February 24, 2020). The plaintiff’s burden

  here is lenient and may be met with a reasonable showing supported by affidavits. Id.,

  citing Morgan, 551 F.3d at 1260.

                                   II. FACTUAL BACKGROUND

         Plaintiff worked as a truck driver for Defendants from 2011 until March 2019.

  See Yamel Gonzalez Affidavit, attached as Exhibit “1,” at ¶2. Defendants only held an

  intrastate license with the Department of Transportation. Id. at ¶3.          Defendants

  classified Plaintiff, and all other truck drivers, as independent contractors. Id. at ¶8.

  During this time frame, all of the drivers’ job duties were performed within the State of

  Florida.     Id. at ¶3.   The company has its drivers engaged in handling, selling, or

  otherwise working with materials that have been moved in and produced for commerce.

  Id. at ¶4.

         There were many other truck drivers that worked for Defendants throughout his

  tenure there, and Defendants continue to employ truck drivers and classify them as

  independent contractors. Ex. 1 at ¶21.     Plaintiff, and other drivers, worked more than




                                               4
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 5 of 14




  40+ per week. Id. at ¶2. Due to the classification of being an independent contractor,

  Plaintiff never received overtime pay. Id. at ¶8. Plaintiff has spoken to at least two

  other drivers interested in joining this lawsuit, and believes that more will join this

  lawsuit, if given the opportunity. Id. at ¶20.

         Plaintiff did not control his schedule, his pay rate, or any other aspect of his

  employment. Ex. 1 at ¶¶5-19. Defendant provided all the tools and material necessary

  for Plaintiff to carry on with his job, including the truck he drove, the insurance on the

  vehicles, and fuel/tolls and maintenance for the trucks. Id. at ¶¶13-19.          The only

  opportunity Plaintiff had for making more money was to work faster or work longer

  hours. Id. at ¶16. Defendants were Plaintiff’s only employer from 2011 until 2019; he

  was not permitted to work for anyone else. Id. at ¶17. This was true for the other drivers

  who worked for Defendants. Id. at ¶16. Beyond possessing a commercial driver license,

  there is no specializing training or skill that goes into the job. Id. at ¶19.

         Defendants’ entire business revolves around the drivers; without the drivers’

  services, Defendants would not be able to conduct its business – i.e. transporting

  construction materials to various locations throughout the State of Florida. Plaintiff, and

  other similarly situated drivers, entire compensation came from Defendants and

  Defendants solely controlled their ability for profit and/or loss. Ex. 1 at ¶4.

                                           III. ARGUMENT

         A. The Court Should Conditionally Certify the Proposed Collective as a
            Collective Action for Notice Purposes:

         This case is currently in the first stage of the two-tiered FLSA certification

  analysis. The determination as to whether Plaintiff has met his burden of demonstrating

  that there are similarly situated employees who desire to opt in is lenient. See Morgan,



                                                   5
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 6 of 14




  551 F.3d 1233 at 1261. Based on this lenient standard, and because courts do not

  resolve fact disputes at this phase, courts regularly grant conditional certification based

  solely upon a plaintiff’s complaint and supporting affidavits. Gibbs v. MLK Express

  Services, et al., 2019 WL 2635746 at *4 (M.D. Fla. June 27, 2019); Rojas v. Uber

  Technologies, Inc., 2017 WL 2790543 at *3 (S.D. Fla. June 27, 2017). Further, as

  noted in the pleadings and in the attached affidavit of Yamel Gonzalez, Plaintiff attests

  that there are other similarly situated individuals who want to opt in. Plaintiff represents

  a collective of workers who were misclassified as individual contractors and worked as

  drivers for Defendants. Every collective member’s relationship with Defendants were

  subject to the Defendants’ universal practices, which violated FLSA law, amongst other

  tax code violations and issues.

           To the extent that factual disputes arise over whether the employees are similarly

  situated, these factual disputes should be resolved during the second stage, after

  discovery and do not constitute a valid basis for denying conditional certification. See

  Carmody v. Fla. Ctr. for Recovery, Inc., 2006 WL 3666964 at *4 (S.D. Fla. Nov. 8,

  2006).     The phrase “similarly situated” is interpreted broadly to include all affected

  employees who may have an interest in the lawsuit. In other words, “similarly situated”

  means similarly situated with respect to the legal, and to a lesser extent, the factual

  issues to be determined.        The prospective class must raise similar legal issues

  concerning non-payment of overtime or minimum wages. However, their situations do

  not have to be identical. Id.

           Here, Defendants were responsible for classifying its drivers appropriately as

  employees versus independent contractors.         Instead, Defendants labeled all drivers




                                               6
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 7 of 14




  independent contractors, and failed to pay them overtime as required by the law. All the

  drivers were paid the same way at the same rate and were labeled independent

  contractors. This should be enough for the court to certify the action. To impose a strict

  standard of proof on the plaintiff at this phase would unnecessarily hinder the broad

  remedial goals of the FLSA. In sum, because of Defendants’ policies and procedures,

  instrastate truck drivers (who delivered materials that effected interstate commerce)

  were not paid lawful overtime wages of one and half (1.5) times their regularly rates for

  all hours over forty (40) per week.       These practices are what underlie Plaintiff’s

  allegations that Defendants have violated the overtime wage provisions of the FLSA

  with respect to Plaintiff and all other truck driver employees. Plaintiff estimates that

  Defendants have employed at least 10-15 other drivers since February 3, 2018, some of

  whom would be interested in joining this lawsuit. See Ex. 1, at ¶ 21.

         The allegations made by Plaintiffs establish that the members of the proposed

  collective are similarly situated for purposes of conditionally certifying the case and

  providing the collective members with notice and opportunity to join this action.

  Defendants’ policies and practices, as described above, are uniformly applicable to

  Plaintiff and the members of the collective, making this case ideally suited for

  conditional certification.   Therefore, the Court should certify the collective of truck

  drivers and make appropriate orders for the distribution of the notice.

         B. The Court Should Approve Plaintiff’s Proposed Collective Action Notice and
            Consent Form, Grant Leave for Plaintiff to Send Notice through U.S. Mail and
            Email, and Order Defendants to Provide Contact Information for Potential
            Opt-ins.

         After the Court grants conditional certification for notice purposes, the Court will

  need to make decisions about how to facilitate notice. The Court has broad discretion



                                               7
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 8 of 14




  to facilitate notice.   Accordingly, the Court should exercise its broad discretion and

  approve Plaintiff’s proposed mail Notice (Exhibit 2), Mail Consent Form (Exhibit 3), and

  Follow-up Postcard (Exhibit 4) for distribution to the collective via U.S. Mail. Plaintiff

  further requests that this Court 1) grant a period of ninety (90) days in which to distribute

  the Notice and Consents and allow for opt-ins to file a Consent to Joint; 2) grant leave to

  send the Follow-Up Post Card thirty days after the initial mailing of the Notice; 3)

  approve the form and content of the text of the emails containing the Notice (Exhibit 5)

  and Email Consent Form (Exhibit 6) and make appropriate order to send them via

  email; and 4) order Defendants to provide the relevant names and contact information

  of current and former members of the collective.

         1. This Court has Broad Discretion to Issue Orders that Facilitate Early Notice to
            Potential Members of the Collective Action.

         In furtherance of the FLSA “broad remedial” purpose, courts have the authority to

  notify potential opt-in plaintiffs that they may join an existing action early in the

  proceeding. Tyson Foods, Inc. v. Bouaphakeo, 136 S.Ct. 1036, 1047 (2016); Guerra v.

  Big Johson Concrete Pumping, Inc., 2006 WL 2290512 at *4 (S.D. Fla. May 17, 2006).

  Collective actions provide workers an opportunity to “lower individual costs to vindicate

  rights by pooling resources,” and enable the efficient resolution in one proceeding of

  common issues of law and fact.” Hoffman-La Roche, Inc. v. Sperling, 493 U.S. 165,

  170 (1989).

         A district court has broad discretion as it relates to the details in the notice sent

  out to the potential collective. See generally, Hubbard v. Jerry’s Seamless Guttering,

  2020 WL 6038110 at *2 (S.D. Fla. Oct. 6, 2020). Notice informs potential plaintiffs of

  facts needed to make an informed whether to opt-in. While there are no well-defined



                                               8
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 9 of 14




  rules for the form of notice, the general requirement is that the notice is fair and

  accurate. See Guerra, 2006 WL 2290512 at *5.

          Plaintiff’s proposed FLSA collective action notice plan provides employees with

  an accurate description of the lawsuit, their legal rights, and the process for participating

  in the case.       It should be approved.           As discussed in more detail below, Plaintiff

  requests to send notice by paper and for a 90-day opt-in period and by email. Plaintiff

  also requests to send a follow up postcard and a reminder email thirty (30) days after

  notice is sent.      Finally, Plaintiff seeks an order directing Defendants to provide the

  names and contact information of all potential collective members.

          i.       The Court should approve Plaintiff’s proposed collective action mail
                   notice, mail consent form and set a ninety-day opt-in period.

          Plaintiff asks this Court for approval to send notice to all individuals who worked

  as truck driver for Defendants at any time after February 3, 2018, which includes the

  three years preceding the filing of Plaintiff’s complaint. This captures every qualified

  truck driver for Defendants who could potential fall within the maximum three-year

  statute of limitations under the FLSA. Further, this keeps the door open for this Court to

  grant equitable tolling to some or all potential plaintiffs if the facts support it.2                         To

  facilitate this request, Plaintiff requests for approval of Plaintiff’s proposed notice-related

  documents, method of distribution, and 90-day opt-in period.

          The Court should approve Plaintiff’s proposed collective action Mail Notice (Ex.

  2) and Consent to Join (Ex. 3) to be sent through United States mail. The mail version

  of the Notice (Ex. 2) and Consent to Join (Ex. 3) proposed by Plaintiff provides a fair



  2
   The doctrine of equitable tolling can toll the statute of limitations in FLSA cases. See, e.g., Justice v.
  United States, 6 F.3d 1474, 1479 (11th Cir. 1993).


                                                        9
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 10 of 14




  and accurate description of the class and would further the remedial goals of the FLSA

  and promote judicial efficiency.

          Plaintiff also requests a period of ninety (90) during which to distribute notice and

  file opt-in plaintiffs’ consent forms with the Court. See Campbell v. Pincer’s Beach Bar

  Grill, Inc., 2016 WL 3626219 at *7 (S.D. Fla. July 7, 2016) (holding courts routinely allow

  90-day opt-in period); Alequin v. Darden Rests, Inc., 2013 WL 3939373 at *8 (S.D. Fla.

  July 12, 2013).

          ii.     This Court should approve Plaintiffs’ proposed procedure for
                  distributing the Notice and Consent form via email.

          Courts already approve of the use of email as part of the multi-platform method

  of distributing notice. See Dean v. W. Aviation, LLC, 2018 WL 1083497 at *6 (S.D. Fla.

  Feb. 28, 2018); Williams v. Coventry Health Care of Fla., Inc., 2016 WL 7013530 at *2

  (M.D. Fla. Oct. 4, 2016). To facilitate notice via electronic mail, this Court should

  approve of Plaintiff’s proposed procedure for disseminating notice by email, which is

  simple and easy for the Court to monitor. As part of this process, the Court should

  approve Plaintiff’s means of sending an electronic notice version of the Notice (Exhibit.

  5) and Consent to Join (Exhibit 6), and obtaining electronic signatures through software

  located at www.rightsignature.com.3 Decl. of Kelsey Black (Black Decl., attached as

  Exhibit 7.) The Court should approve the language that Plaintiff intends to use in the

  body of the email containing the Notice and the link to the Consent to Join, as reflected

  in Exhibits 5 and 6. Plaintiff’s counsel’s email includes a link to www.rightsignature.com,

  3
    RightSignature is a subscription Internet service that allows Plaintiff’s counsel to send PDF documents
  to collective members’ email addresses, which they can open on their smartphones and/or computers
  and sign with their finger or mouse. Ex. 6 at ¶__. More information about RightSignature is available at
  https://rightsignature.com/how-it-works/send. Florida courts have already approved use of electronic
  signatures generally. Kraft v. Freight Handlers, Inc., 2019 WL 3854989 at *6 (M.D. Fla. May 21, 2019);
  Fla Stat. § 668.004.


                                                      10
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 11 of 14




  where the recipient can access an electronic version of the Consent to Join and gives

  instructions for signing the Consent electronically to avoid some minor but common

  mistakes. See Ex. 7 at ¶ 13-14.

          From the link, collective members may print the Notice or read it in electronic

  form.    Putative class members who wish to join the lawsuit could then choose to print,

  sign and return a paper copy of the Consent to Joint form or electronically sign the

  Consent to Join form using the RightSignature service. This is similar to the process

  used in other United States District Courts in Florida.      See Harapeti v. CBS Tele.

  Stations, Inc., 2020 WL 8083695 at *7 (S.D. Fla. Dec. 21, 2020); Metzler v. Medical

  Manag. Int’l, 2020 WL 1674310 at *6 (M.D. Fla. March 4, 2020); Kraft v. Freight

  Handlers, Inc., 2019 WL 3854989 at *6 (M.D. Fla. May 21, 2019); Roberson v. Rest.

  Delivery Developers, LLC, 2017 WL 4124862 (M.D. Fla. Sept. 27, 2017).

          iii.   The Court should approve the sending of the Follow-up Postcard via
                 U.S. Mail and a reminder email thirty (30) days after Notice is sent.

          Plaintiff further request that this Court permit the sending of a Follow-Up

  Postcard, via U.S. Mail to potential opt-ins who did not respond within thirty (30) days of

  sending Notice. The Follow-Up Postcard would be sent thirty (30) days after the Notice

  is first distributed via U.S. Mail.   Allowing Plaintiff’s counsel to send the Follow-Up

  Postcard provides a fair and equitable solution to ensure that all members who want to

  join the lawsuit are able to, including ensuring collective members whose consents were

  mailed (or electronically submitted) but not received are made aware of this fact. See

  Ex. 7 at ¶¶ 4-7.     District courts in the Southern District of Florida approve of this

  procedure. See Shaw v. Set Enterprises, Inc., 2016 WL 10593592 at *3 (S.D. Fla Dec.

  6, 2016). The Follow-Up Post Card should be approved.



                                              11
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 12 of 14




          Mail delivery problems are unavoidable in collective actions. See Decl. Black at

  See Ex. 7 at ¶¶ 4-8.     Courts have routinely approved of sending follow-up postcard

  reminders by mail and email. Such follow-up reminders contribute to dissemination

  among similarly situated employees and serve what the Supreme Court in Hoffmann-La

  Roche recognized as Section 216(b)’s “legitimate goal of avoiding a multiplicity of

  duplicative suits and setting cutoff dates to expedite disposition of the action.” 493 U.S.

  at 172. Courts around the country, including in Florida, have recognized the usefulness

  of a reminder notice. See Shaw, 2016 WL 10593592 at *3; Martin v. Budd Props, Inc.,

  2018 WL 6521475 at *5 (M.D. Ga. April 27, 2018); Chhab v. Darden Rest., Inc., 2013

  WL 5308004 at *16 (S.D. NY Sept. 20, 2013). Accordingly, the reminder postcard and

  email are similarly appropriate here.

          iv.   The Court should order Defendants to provide the names, last known
                mailing address, telephone numbers, and email addresses of the
                collective.

          To facilitate sending the Notice and Consent to Join, this Court should order

  Defendants to provide the names and contact information for collective members.

  Plaintiffs ask this Court to provide for the following information no later than seven (7)

  days after entry of an Order certifying the case for a collection action for each individual

  who meets the collective definition: (1) full legal name, including any aliases he or she

  may have gone by or goes by now; (2) the last known mailing address; (3) the last

  known telephone number; and (4) any and all email addresses of which Defendants are

  aware for each individual.     This information is in the Defendants’ possession, not

  Plaintiff.




                                              12
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 13 of 14




                                        IV. CONCLUSION

         Plaintiff has met the lenient burden imposed on him at the conditional stage.
  Because Defendants’ policies that underlie Plaintiff’s allegations in the FLSA violations
  are the same for Plaintiff and all of the collective members, Plaintiff and the collective
  members are similarly situated as victims of a common policy or practice of the
  employer that affected all collective members in a similar fashion. Accordingly, the
  Court should certify the collective as requested by Plaintiff. Plaintiff further respectfully
  request that this Court: (1) order Defendants to produce the contact information of
  those collective members (name, address, telephone number and email addresses) in
  electronic form no later than one week from the entry of the order granting this motion;
  (2) approve of the form and contents on Exhibits 2-6; (3) approve notice through U.S.
  Mail and email; (4) approve the sending of the follow-up Postcard via U.S. mail and a
  reminder email; and (5) grant counsel a period of ninety (90) days from the date
  Defendants fully and completely release the collective members’ contact information
  during which to distribute the notice and to file the Consent to Join forms.

                      CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant
  has conferred with all parties or non-parties who may be affected by the relief sought in
  this motion in a good faith effort to resolve the issues but has been unable to resolve the
  issues.




  Respectfully submitted,
  BLACK LAW P.A.

  /s/ Kelsey K. Black, Esq.
  Kelsey Black, Fla. Bar No. 079825
  Cody Shilling, Fla. Bar No. 1010122
  1401 E. Broward Blvd., Ste. 204
  Fort Lauderdale, FL 33301
  954-320-6220
  kelsey@kkbpa.com; cs@kkbpa.com
  Attorneys for Plaintiff



                                               13
Case 0:21-cv-60278-RS Document 27 Entered on FLSD Docket 04/07/2021 Page 14 of 14




                                       14
